     Case 3:20-cv-02345-WHO         Document 6-3       Filed 04/20/20     Page 1 of 3




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19                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
20                               SAN FRANCISCO DIVISION

21   DOUGLAS J. REECE, on his own behalf and           )   No. 3:20-cv-02345 WHO
     all others similarly situated,                    )
22                                                     )   Potentially Related Case Nos.
                                                       )   4:20-cv-02512-VC
23                                Plaintiff,           )   4:20-cv-02597-JSW
                                                       )
24   v.                                                )   PROOF OF SERVICE
                                                       )
25   ALTRIA GROUP, INC., and JUUL LABS,                )   Judge: Hon. William H. Orrick
     INC.,                                             )
26                                                     )
                                                       )
27                                Defendants.          )
                                                       )
28                                                     )

     [No. 3:20-cv-02345 WHO] PROOF OF SERVICE
     Case 3:20-cv-02345-WHO             Document 6-3     Filed 04/20/20      Page 2 of 3




 1          I, Leslie R. Cuesta, hereby declare as follows:

 2          I am employed by Berman Tabacco, 44 Montgomery Street, Suite 650, San Francisco,
 3   California, 94104. I am over the age of 18 years and am not a party to this action. On

 4   April 20, 2020, using the Northern District of California’s Electronic Case Filing System

 5   (“ECF”), with the ECF ID registered to Todd A. Seaver, and at his direction, I filed and served

 6   true and correct copies of the document(s) described as follows:

 7          1.      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES
                    SHOULD BE RELATED (Civil L.R. 3-12(b) and 7-11);
 8
            2.      DECLARATION OF TODD A. SEAVER IN SUPPORT OF
 9                  ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES
                    SHOULD BE RELATED (Civil L.R. 3-12(b) and 7-11);
10
            3.      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO
11                  RELATE CASES UNDER CIVIL LOCAL RULE 3-12; and
12          4.      PROOF OF SERVICE
13   The ECF System is designed to automatically generate an e-mail message to all parties in the

14   case, which constitutes service.

15          I further declare that on April 20, 2020, I served true and correct copies of the

16   document(s) listed above on the following attorneys and/or parties, who are not on the list to
17   receive e-mail notices for this case, by transmitting Portable Document Format (PDF) copies

18   via email to the person(s) at the email address(es) set forth below:
19   Barrett Beasley
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21   Telephone: (318) 354-1043
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27   Attorneys for Plaintiff Douglas J. Reece
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     [No. 3:20-cv-02345 WHO] PROOF OF SERVICE                                                          1
     Case 3:20-cv-02345-WHO           Document 6-3       Filed 04/20/20      Page 3 of 3




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 7   Attorneys Plaintiff Anthony Martinez
 8          I declare under penalty of perjury pursuant to the laws of the United States that the

 9   foregoing is true and correct.
10          Executed at San Francisco, California, on April 20, 2020.

11

12                                                        Leslie R. Cuesta
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     [No. 3:20-cv-02345 WHO] PROOF OF SERVICE                                                       2
